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                                                                        EXHIBIT 34



 1

 2
                     IN THE CIRCUIT COURT OF THE STATE OF OREGON
 3
                                FOR THE COUNTY OF JACKSON
 4

 5   In the Matter of:

 6   HEIDI MARIE BROWN,                              Case No. 23CN05721

 7                       Petitioner,                 MOTION FOR REMOTE
                                                     APPEARANCE AT HEARING TO
            and                                      SHOW CAUSE; AND DECLARATION
 8
     ARNAUD PARIS,                                   IN SUPPORT BY ARNAUD PARIS, TO
 9                                                   BE CONSIDERED BY ANOTHER
                                                     JUDGE THAN JUDGE ORR (PER ORS
10                       Respondent, Pro Per.        14.250)

11

12
     I, Arnaud Paris, Respondent Pro Per in the above-captioned case, moves this court fo
13
     an order allowing Father, respondent, to appear remotely from France for the hearing to
14
     show cause and any other hearings in this matter for the following reasons:
15

16
            1.     New developments in the Jackson County state court proceedings
17
     happened last week making it impossible for Father to come to the USA anymore. On
18
     Friday February 23 rd , Mother's counsel filed in the Jackson County proceedings an E
19
     Parte International Arrest Order against Father asking for the participation of the FBI to
20
     obtain an extradition of both Father and the children from France. (See attached Exhibi
21
     01 ). Mother's counsel followed Judge ORR's advice to file such an order as it seems both
22
     the court and Miss Brown's counsel are using the Jackson County proceedings in bad
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                                                 1
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  1    faith to harass Respondent to the point of trying to have him arrested in France and his

  2    children taken into custody with the participation of the FBI so that the three of them be

  3    extradited to the US which would deprive Respondent from his parental right in his own

  4    country, granted to him by the Paris court on April 21 st , 2023 and that was confirmed b

  5    the Paris court again in a second judgment on August 25th , 2023, and this would also pu

  6    the United States in violation of the Hague Convention of 1980 of which both France and

  7    the USA are signatory.

  8           2.      I am also physically not able to travel to the United States as this court and

  9    Mother have ensured that my US passport would be revoked by making abusive, illegal

 1O child support orders regarding children that don't live in the United States, they live in

 11    France with Father per a French Judgment that is in full force and effect in Oregon since

 12    it has been registered in Multnomah County under case number 23DR16534 and no

• 13   decision has been made by the court to reject it to this date. (Seo eiUeiol ,e@I EHi ,il!it 02)

 14           3.      These abusive illegal child support orders for children who don't even live

 15    in the US have clearly been made by Mother and this court to harass Father and to

 16    prevent him from travelling to the United States since they knew that they would result in

 17    Father's passport being immediately revoked while Father has appealed of these orders

 18    since they are totally illegal, a state court can't make child support orders who children

 19    that live in another country per a custody order registered in another state of Oregon. Bu

 20    until a court has heard the objections of Father his passport is revoked and he is unable

 21    to travel to the United States since his French Passport is expired and he doesn't have

 22    the financial means to pay the Child Support Order to release his passport while awaiting

 23    a decision from the administrative court.
                                                       2
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 1         4.      Mother and this court have created a situation in which they are forcing

 2   Father to appear in person at a show cause hearing with potential criminal consequences

 3   while keeping him from travelling to the US since Father doesn't have any other valid

 4   passport currently other than his US passport that has been revoked (his French passpo

 5   is expired). This is nothing less than a "setup" to obtain a default contempt order agains

 6   Father without due process, which is exactly what this court has been doing agains

 7   Father for more than 6 months. The Jackson County court can't participate in this kind o

 8   abusive and bad faith legal strategies from Mother, this court has no other option but to

 9   allow Father to appear remotely in the current situation since Father cannot travel to the

1O US due to this court's direct actions.

11         5.      I am a French resident living in Paris, and I have been granted custody o

12   Eva and Juliette Paris, the children I had with Miss Brown, per a French judgement dated

13   April 21 st 2023 registered in Oregon in May 9th 2023, and improperly and illegal!

14   invalidated by the Jackson County court in August 18th 2023, since I wasn't given due

15   process in these proceedings (I was summarily forbidden to participate while present,

16   willing and able to appear and participate remotely during these proceedings).

17         6.     The French court in Paris confirmed this first French judgment in Augus

18   25 th 2023 by entering a second judgment reinstating that France did have jurisdiction ove

19   these children and that considering the high risk of Miss Brown taking the children back

20   to Oregon in violation of the French judgement, her visitation time would have to happen

21   in France and the children weren't allowed to leave France until further notice.

22         7.     Miss Brown refused to comply with a formal commitment she made through

23   French lawyers in France in July 2022 to return to France at the end of the 2022-2023
                                                 3
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 1   school year in Oregon with our children. I am therefore the only parent caring for ou

 2   children in France currently and I am unable to attend these proceedings in person in the

 3   Jackson County Court.

 4          8.       I don't have the financial means to keep going back and forth between

 5   France and the US to attend these proceedings, I also have no residence in the US. The

 6   ongoing litigation that Miss Brown has been extending over me for more than a year in

 7   Oregon while there was already a litigation happening in France for the same children (I

 8   was first to file and first to serve and first to judgment) is now making it simply impossible

 9   for me to face financially these proceedings in person in Oregon while caring for m

10   children in France per the French judgement that was rejected in the Jackson Count

11   court without due process.

12          9.       Miss Brown, her counsel and this court are trying to make another clea

13   denial of due process in my regards and to impose on me pure and simple "blackmail" to

14   force me to bring back the children to the US while they are in France under a French

15   judgment, in the middle of a school year, and there is a restraining order in place to

16   prevent them from leaving France since Miss Brown made it clear she wouldn't respec

17   the French judgments or the French judicial system and she is a high risk of kidnapping

18   the children.

19          10.      If Miss Brown truly had a case in this matter when she claims that I

20   'abducted' the children to France she would logically have started a Hague action in

21   France which she hasn't. The Jackson County court isn't the appeal court of France; this

22   court and Miss Brown ought to respect the French judicial system (and the international

23   principle of Committee) and have to stop making a mockery of it in the Oregon courts.
                                                   4
24



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 1   Miss Brown and her counsels lead this court to violate more than half a dozen state and

 2   federal statutes so far in these proceedings and this has turned into a clear personal

 3   vendetta from Miss Brown, her counsel, and the Jackson County court against me.

 4          11.      This matter was filed, served, decided and adjudicated first in France. This

 5   court violated several of its obligations along the course of these proceedings that could

 6   have avoided this terrible situation. One of them was its obligation to confer with the

 7   French judge before the French determination was made but this court refused to do so

 8   last April while a motion had been filed by Father specifically for that reason.

 9          12.      If this court had respected its obligation to read and consider my motions

1O properly filed over the last six months, it would also see clearly that the Oregon court has

11   no jurisdiction in this matter and this was nothing more than a forum shopping case from

12   Miss Brown who committed perjury to and manipulated the Jackson County court from

13   the very beginning in order to escape the French judicial system regarding the custody o

14   our children.

15          13.      Any remedy Miss Brown is seeking regarding custody of the children will

16   have to happen in France, continuing litigation in front of the Jackson County Court is

17   made only to harass Father as it has been the case since the beginning since this matte

18   was to be dealt with in France. Miss Brown and her counsel have to stop making a

19   mockery of both the Oregon and the French judicial system by ignoring the very reason

20   the UCCJEA was created for, which is to prevent precisely what Miss Brown and he

21   counsels have been doing: forum shopping and trying to create a conflicting competing

22   custodial determination while one has already been made per the UCCJEA standards in

23   another state.
                                                   5
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            14.    Miss Brown's manipulation of the Jackson County Court is unacceptable,

 2   and I need to be allowed to appear remotely at this hearing to show cause after my motion

 3   for reconsideration of Judge Orr to be disqualified has been properly addressed by

 4   another Judge to be given a chance to explain why this contempt is abusive, improper,

 5   illegal, and made in bad faith by Mother. A mistrial or a disqualification of Judge Orr in

 6   this matter are the only solution to stop this mockery of both the Oregon and the French

 7   judicial systems especially as Judge Orr has shown to not be impartial in this matter and

 8   has made improper comments about French people and the French judicial system in

 9   open court and has repeatedly denied me due process in these proceedings. The motion

1O   I filed concurrently to ask for reconsideration of my motion for disqualification of Judge

11   Orr needs ot be addressed first before this motion for remote appearance is to be decided

12   per ORS 14.250.

13          I hereby declare that the above statement is true to the best of my knowledge

14   and belief, and that I understand it is made for use as evidence in court and is subject to

15   penalty for perjury of the laws in the state of Oregon.

16

17   Prepared on February 29th 2024 in Paris and sent to the court by FEDEX

18

19

20
     By:_
21   ARNAUD PARIS, Respondent, Pro Per
     13 rue Ferdinand Duval ,
22   75004, PARIS, FRANCE
     Telephone: +33688283641
     Email: aparis@sysmicfilms.com
23
                                                  6
24



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 1
                                     CERTIFICATE OF SERVICE
 2
        I hereby certify that I served the foregoing MOTION FOR REMOTE APPEARANCE
 3      AT HEARING TO SHOW CAUSE; AND DECLARATION IN SUPPORT BY
        ARNAUD PARIS, TO BE CONSIDERED BY ANOTHER JUDGE THAN JUDGE
 4      ORR (PER ORS 14.250) on the following party:

 5                                           Heidi Marie Brown
                                              2256 Abbott Ave
                                            Ashland, OR 97520
 6
                                          heidimparis@qmail.com
                                                Respondent
 7
                                         Taylor L.M. Murdoch,
 8                                        Buckley Law P.C.
                                    5300 Meadows Road, Suite 200
 9                                     Lake Oswego, OR 97035
                                        TLM@buckley-law.com
10                                 Last Known Attorney for Respondent

     By the following method or methods:
11
            by mailing full, true, and correct copies thereof in sealed, first class postage
12    prepaid envelopes, addressed to the attorneys(s) as shown above, the last known office addre s of
      the attorney(s), and deposited with the United States Postal Service at Portland, Oregon on the date
13    set forth below.

14    X    by emailing full, true, and correct copies thereof to the attorney(s) at the email address
      shown above, which is the last known email address for the attorney(s) office, on the date set f rth
      below.
15
           by faxing full, true, and correct copies thereof to the attorney(s) at the fax number(s)
16    shown above, which is the last known fax number for the attorney(s) office, on the date set fort
      below. The receiving fax machines were operating at the time of service and the transmission as
17    properly completed.

             by selecting the individual(s) listed above as a service contact when preparing this electr nic
18
      filing submission, thus causing the individual(s) to be served by means of the court's electroni filing
      system.
19
     Prepared on February 29th 2024 in Paris and sent to the court by FEDEX
20

21
     By:~
22   ARNAUD PARIS, Respondent, Pro Per
     13 rue Ferdinand Duval
     75004, PARIS, FRANCE
23   Telephone: +33688283641- Email: aparis@sysmicfilms.com
                                            7
24



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